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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                        Case No.: BK-18-13787-JDL
WILMA JEANNE MORRIS,                                    Chapter 13

         DEBTOR.


                   CREDITOR’S PRELIMINARY WITNESS AND EXHIBIT LIST

       COMES NOW the Creditor, QUICKEN LOANS INC., (“QUICKEN”), through its undersigned
counsel, and hereby submits its Preliminary Witness and Exhibit List for the hearing scheduled for March
12, 2019 on Debtor’s Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule
3002.1(E) (Doc. 18). QUICKEN reserves the right to amend these lists as equity may require and/or
allow.

                                             WITNESSES

No. Name                        Address      Proposed Testimony
1.  Expert Witness(es) to       To be        Will testify to amount of work, skill and knowledge required
    be determined               determined   to receive, process and prepare foreclosure actions and
                                             bankruptcy Proof of Claim matters along with reasonableness
                                             of fees and expenses challenged herein.
2.    All witnesses of other
      parties not objected to
      by QUICKEN
3.    All necessary records                  Identify and/or authenticate Creditor’s exhibits
      custodians

                                              EXHIBITS

No.                                         EXHIBIT
1.    Invoice(s) for Bankruptcy Fees and Expenses
2.    Pleadings and Claims Filed herein
3.    Note dated August 30, 2016
4.    Mortgage dated August 30, 2016 recorded September 16, 2016 in Book 4469 Page 478 of the
      Canadian County Clerk
5.    Any exhibit needed for impeachment or rebuttal purposes
6.    Debtor’s exhibits not objected to by QUICKEN
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                             QUICKEN LOANS INC.




             By:         s/ Matthew J. Hudspeth
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                         JIM TIMBERLAKE - #14945
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                         Attorney for Creditor




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                                   CERTIFICATE OF SERVICE

I hereby certify that I mailed a true and correct copy of the above and foregoing Preliminary Witness and
Exhibit List with postage thereon fully prepaid to the parties listed below on February 21, 2018.

Wilma Jeanne Morris
605 S. Lakehoma Dr.
Mustang, OK 73064

      The following persons should have received notice of the above and foregoing instrument on the
same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115
                                   By:         s/ Matthew J. Hudspeth____________
                                               MATTHEW J. HUDSPETH - #14613
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